          Case 1:16-cv-03029-JKB Document 17 Filed 11/04/16 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 IN RE SEALED DOCKET SHEET
 ASSOCIATED WITH MALWARE                                    Case No. JKB-16-3029
 WARRANT ISSUED ON JULY 22, 2013



        GOVERNMENT’S RESPONSE TO MOTION TO UNSEAL DOCKET SHEET

        The United States of America, by its attorneys, Rod J. Rosenstein, United States Attorney

for the District of Maryland; and Kristi O’Malley, Assistant United States Attorney, respectfully

requests that the Court deny as moot the Motion to Unseal Court Docket Sheet filed by the

American Civil Liberties Union (“ACLU”) on August 29, 2016 (ECF No. 1).

        Between October 31, 2016 and November 2, 2016, docket sheets relevant to the ACLU’s

motion have been unsealed in case numbers 13-mj-1744, 13-mj-1745, and 13-mj-1746.

Additionally, redacted versions of search warrants, applications for search warrants, search

warrant affidavits, and search warrant returns have been filed and are publicly accessible in each

case.

        Because the docket sheets are no longer under seal, the government respectfully requests

that the Court deny as moot the ACLU’s motion to unseal.

                                                 Respectfully submitted,

                                                 Rod J. Rosenstein
                                                 United States Attorney

                                                 /s/ Kristi O’Malley

                                                 Kristi O’Malley
                                                 Assistant United States Attorney
